                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:03CV56-2-V
                            (5:99CR11-V)


ANTHONY JEROME DANIELS,       )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon petitioner’s “Motion

to Vacate, Set Aside, or Correct” under 28 U.S.C. §2255,” filed

May 5, 2003; on the “Government’s Response To Defendant’s Peti-

tion [A]nd Motion For Summary Judgment,” filed June 10, 2003; and

on the petitioner’s two “Traverse[s],” filed June 30 and August

21, 2003.   After careful consideration of these matters, for the

reasons stated herein, and for the further reasons set forth in

the government’s Response, the government’s Motion for Summary

Judgment will be granted; and the petitioner’s Motion to Vacate

will be denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to the Motion to Vacate, the record reflects that

on March 2, 1999, a six-Count Bill of Indictment was filed, char-

ging the petitioner (along with 14 others) with having conspired

to possess with the intent to distribute powder cocaine, cocaine




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base and marijuana, all in violation of 21 U.S.C. §§841(a)(1) and

846 (Count One).   On May 27, 1999, the government filed a Notice

pursuant to 21 U.S.C. §851, asserting that if convicted of the

pending charge, the petitioner could be subjected to an enhanced

sentence under §841 by virtue of his prior felony convictions for

possession of cocaine and possession with intent to sell and

deliver cocaine.

     Although the petitioner initially pled “not guilty,” on July

16, 1999, he entered into a written Plea Agreement with the go-

vernment, by which he promised to plead guilty to the subject

conspiracy charge.    In exchange for that promise, the government

agreed to withdraw its §851 Notice and to forego pursuing an

enhanced statutory sentence for the petitioner.

     In addition to the above promises, the parties both agreed,

inter alia, that the petitioner’s sentence should be calculated

on the basis of his involvement with more than 500 grams but less

than 1.5 kilograms of cocaine base; that the corresponding of-

fense level for that amount of cocaine base was 36; and that no

other enhancements under Chapter 2 or 3 were applicable.

     With regard to the petitioner’s post-conviction rights, the

Plea Agreement reflects his waiver of his right to directly ap-

peal or collaterally challenge either his conviction or sentence.

However, the Agreement expressly provided that the subject waiver

did not apply to claims of ineffective assistance of counsel or

prosecutorial misconduct which could be raised on collateral

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review.    Last, the Plea Agreement provided that in the event the

petitioner rendered substantial assistance to the government, the

government would seek a reduced sentence for him under U.S.S.G.

§5K1.1.

       Next, on July 21, 1999, the petitioner appeared before the

Court for his Plea & Rule 11 Hearing.         On that occasion, the

Court engaged the petitioner in its standard, lengthy colloquy to

ensure that his guilty plea was being freely and intelligently

tendered.    In response to the Court’s numerous questions, the

petitioner swore that he had received a copy of the Indictment

and had discussed the contents of that document with his attor-

ney.    The petitioner also swore that he fully understood the

charge and its corresponding penalties.

       Equally critically, the petitioner swore that he understood

the terms of his Plea Agreement; and that he had taken enough

time to discuss possible defenses with his attorney.            In fact,

the petitioner admitted to the Court that he was guilty of the

subject charge, and he said that he regretted that he had chosen

to sell drugs.    Last, the petitioner told the Court that he was

satisfied with the services of his attorney.

       Accordingly, the Court determined that the petitioner’s

guilty plea was knowingly and freely made, and so the Court

accepted that plea.    Following the entry of his guilty plea, the

petitioner was released from detention on an unsecured bond so

that he could provide assistance to the government.

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     Eventually, the Court put the petitioner’s case on its

calendar for a sentencing hearing.      However, on April 7, 2000,

defense counsel filed a “Motion For Downward Departure . . . . “

By that Motion, defense counsel asked the Court to depart down

from Criminal History Category VI to Category II or IV because

the petitioner’s 21 criminal history points “substantially over-

represent[ed] the seriousness of his conduct.”

     Ironically, on June 2, 2000, the government filed a Motion

to Revoke Bond, asserting that since the time of his release from

pretrial detention, the petitioner had been charged on two sepa-

rate occasions with driving-related violations; that one such

violation had resulted in a conviction; and that he had also

sustained a third series of charges for second-degree trespass,

resisting obstructing and delaying an officer, and drunk and

disruptive conduct.    Such Motion also asserted that the petition-

er had missed three scheduled office visits with the U.S.

Probation Office; that he had not maintained employment; and that

he had failed to fully comply with his out-patient drug treatment

therapy.

     Subsequently, the Probation Office filed a violation report

reflecting that the petitioner also had been charged with another

driving violation, and was then in custody for charges of assault

on a female and breaking or entering.         Accordingly, the Court

revoked the petitioner’s bond.

     Ultimately, on November 20, 2000, the Court held the

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petitioner’s Factual Basis & Sentencing Hearing.            At the outset

of that proceeding, defense counsel advised that the petitioner

had some concerns about the impact that the recent ruling in

Apprendi v. New Jersey, 530 U.S. 466 (2000)1 might have had on

his case, and so counsel asked the Court to question the peti-

tioner in order to determine whether he wanted to proceed under

his guilty plea, or to withdraw the plea and proceed to a jury

trial.

      At that point, counsel for the government argued that in

light of the petitioner’s concessions and admissions, no Apprendi

violation had occurred.       Counsel for the government also advised

the Court that, notwithstanding the petitioner’s numerous viola-

tions of his Plea Agreement, she still planned to withdraw the

§851 Notice and to ask the Court to depart down to a 180-month

term of imprisonment pursuant to §5K1.1.          For his part, defense

counsel advised that he had counseled the petitioner to plead

guilty prior to the announcement of the Apprendi decision, but he

continued to believe that such advice was sound.

      Next, the petitioner asked the Court whether the Apprendi

decision would allow him either to receive less than the 180-

month term recommended by the government, or to self-report to

his prison so that he could spend some additional time with his



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       In Apprendi, the Supreme Court held that any factor other than a prior
conviction which increases the statutory maximum term must be alleged in the
indictment and proven beyond a reasonable doubt.

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three children.    However, the Court advised the petitioner that

Apprendi would not preclude the imposition of any sentence en-

hancements which could be imposed under §851; and that the pre-

cise effect of Apprendi would be determined by future rulings of

the appellate courts.    The Court also advised the petitioner that

he would not be allowed to self-surrender or to obtain a bond

under any set of circumstances.      Consequently, at the conclusion

of that exchange, the petitioner conferred with his attorney and

told the Court that he wanted to proceed with his guilty plea.

The Court then re-affirmed its acceptance of that plea.

     Thereafter, the Court asked several questions, in response

to which the petitioner reported that he had been given an ade-

quate opportunity to review his Pre-sentence Report with his

attorney; and that he had no objections to that Report.            The

Court then concluded that the petitioner’s Offense Level was 33

and his Criminal History Category was VI, thereby exposing him to

a sentencing range of 235 to 293 months imprisonment.

     Next, the Court denied defense counsel’s Motion for Downward

Departure, concluding that the petitioner’s criminal history

actually justified an upward, not downward, departure.            However,

the Court granted the government’s motion for downward departure

based upon the petitioner’s substantial assistance, and then gave

the petitioner the opportunity to speak on his own behalf.

     During allocution, the petitioner essentially tried to make

light of his record, not fully taking responsibility for his

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behavior.   That is, the petitioner told the Court that he simply

had “just d[one] what [he] had to do in order to survive . . . .”

Notably, however, the petitioner did not complain about any

matters relating to his case or his counsel.

     In any event, at the conclusion of that Hearing, the Court

sentenced the petitioner to the recommended 180-month term of

imprisonment.   However, the petitioner did not timely notice his

appeal in this case.

     Rather, on November 27, 2001, the petitioner filed a Motion

to Vacate arguing several matters, including that counsel had

been ineffective for his failure to take action upon his “insinu-

at[ions]” that counsel should directly appeal his case.            Then, on

November 29, 2001–-that is, before his Motion to Vacate was re-

solved, the petitioner filed a Notice of Appeal, which Notice was

transmitted to the Fourth Circuit Court of Appeals.            Upon receipt

of that Notice, the appellate Court appointed counsel for the

petitioner.   Then, on December 19, 2001, appellate counsel filed

a Supplemental Motion to Correct Sentence, expressly asking that

a new Judgment be entered pursuant to United States v. Peak, 992

F.2d 42 (4th Cir. 1993); that the petitioner’s other claims be

dismissed without prejudice; and that the petitioner be given an

opportunity to proceed on direct appeal.

     Next, the government filed a Motion to Dismiss the petition-

er’s appeal as untimely filed.      On April 15, 2002, the govern-

ment’s Motion was granted, and the petitioner’s Appeal was

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dismissed.

     Nevertheless, on April 30, 2002, this Court granted the

petitioner’s Motion to Vacate, but only for the purpose of allow-

ing him to timely appeal his conviction and sentence.             Next, the

petitioner timely filed his appeal in the Circuit Court.

     In his second appeal, the petitioner argued, inter alia,

that his Rule 11 Hearing was inadequate; that the Court had in-

correctly applied the Sentencing Guidelines; that his Motion for

Downward Departure was erroneously denied; that his sentence was

imposed in violation of the Apprendi ruling; that his plea agree-

ment was invalid; that his sentence violated the Double Jeopardy

clause; and that the prosecutor had engaged in misconduct.              See

United States v. Daniels, No. 02-4415, slip op. at 2 (Jan. 15,

2003).

     Nevertheless, the Court of Appeals concluded that the peti-

tioner had waived his right to appeal most of the foregoing

matters under the terms of his Plea Agreement; and that, in light

of the facts of this case, the subject waiver was valid and fully

enforceable.    Id.   In addition, the appellate Court found that

petitioner’s cognizable claims, including his challenge to the

validity of his Plea Agreement, were “baseless and unsupported.”

Id. at 3.    Consequently, that Court affirmed the petitioner’s

conviction and sentence.       Id.   Following that ruling, on May 5,

2003, the petitioner returned here on the instant Motion to

Vacate.

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     In this Motion, the petitioner alleges that he was subjected

to ineffective assistance of counsel in four distinct ways.

First, the petitioner claims that trial and appellate counsel

both were ineffective for having failed to raise an Apprendi-

based challenge to the Indictment and to the Court’s imposition

of the 180-month sentence which he received.          More particularly,

the petitioner complains that in light of the government’s

failure to specify the drug amounts with which he was charged,

the Court lacked the authority to impose a 180-month term.

     Second, the petitioner claims that trial counsel was inef-

fective for having failed to challenge the government’s §851

Notice because his prior convictions could not subject him to any

sentencing enhancements.       Third, the petitioner argues that trial

counsel was ineffective for having allowed him to stipulate to a

specific drug quantity since the Indictment was subject to

challenge under Apprendi.      Last, the petitioner argues that trial

counsel was ineffective at sentencing because he “induce[d]” him

to enter into an “illusionary” Plea Agreement.

     On June 10, 2003, the “Government’s Response To Defendant’s

Petition [A]nd Motion For Summary Judgment” was filed.             According

to that document, the government asserts that the petitioner’s

Motion to Vacate should be summarily denied and dismissed because

his Apprendi-based allegations have no merit and are foreclosed

by relevant law; that his indirect challenges to the government’s

evidence are barred by his waiver of those matters pursuant to

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his Plea Agreement; and, in any case, that he has failed to

establish either deficient performance or prejudicial outcome in

connection with any of his claims against counsel.

     In addition to the foregoing, on June 17, 2003, the govern-

ment supplemented its Response with an Affidavit from the

petitioner’s former trial counsel, Peter C. Anderson.           By that

Affidavit, Mr. Anderson asserts, inter alia, that after being

appointed to represent the petitioner, he reviewed the govern-

ment’s file and learned that there were about 18 persons who

claimed to have purchased from or sold drugs to the petitioner;

that at least four of those persons reported having bought crack

from the petitioner on numerous occasions in quantities “far

greater than 500 grams . . . ”; and that based upon such informa-

tion, he did not believe there was a good faith basis to

challenge the drug amounts which were proposed in the Plea Agree

ment.

     Mr. Anderson’s Affidavit also asserts that he did not seek

to challenge the government’s §851 Notice because it appeared

that there was an adequate basis for such Notice and, in any

event, the parties had agreed that the government would dismiss

that Notice at the conclusion of the petitioner’s case.            In ad-

dition, the instant Affidavit asserts that it was not until after

counsel had met with the petitioner to discuss the government’s

file, along with any possible defenses, witnesses and options

they might have had, that the petitioner indicated his desire to

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accept the Plea Agreement and avoid a trial.

     On June 30, 2003, the petitioner filed his first “Traverse,”

in opposition to the government’s Motion, taking issue with the

argument that he was not affected by its §851 Notice.               Rather,

the petitioner argues that the Notice was the reason he decided

to plead guilty.   The petitioner also takes issue with the argu-

ment that Apprendi is not applicable in this case.               Next, on

August 21, 2003, the petitioner filed another “Traverse,” reiter-

ating and more fully explaining most of his earlier arguments.

     Now, for its part, the Court has carefully reviewed all of

these matters and determined that the petitioner is not entitled

to any relief on his claims.

                              II.    ANALYSIS

          1.   The petitioner’s Apprendi-based claims
               against counsel are baseless.

     Although he initially begins his discussion of this claim as

a challenge to the Court’s subject matter jurisdiction, it ap-

pears from a careful reading of the Motion that the petitioner’s

first claim actually alleges that trial and appellate counsel

were ineffective for having failed to argue that his sentence was

imposed in violation of the then-recent ruling in Apprendi v. New

Jersey, 530 U.S. 466 (2000).        However, as will be explained here-

after, this claim is wholly without merit.

     With respect to claims of ineffective assistance of counsel,

a petitioner must show that counsel's performance was constitu-

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tionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby.

Strickland v. Washington, 466 U.S. 668, 687-91 (1984).           In making

this determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v. Mary-

land, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S. 1011

(1978).

     Under these circumstances, the petitioner “bears the burden

of proving Strickland prejudice.”       Fields, 956 F.2d at 1297,

citing Hutchins, 724 F.2d at 1430-31.        If the petitioner fails to

meet this burden, a “reviewing court need not consider the per-

formance prong.”   Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Further, in considering the prejudice prong of the analysis,

the Court must not grant relief solely because the petitioner can

show that, but for counsel’s performance, the outcome of the

proceeding would have been different.        Sexton v. French, 163 F.3d

874, 882 (4th Cir. 1998), cert. denied, 528 U.S. 855 (1999).

Rather, the Court “can only grant relief under. . . Strickland if

the ‘result of the proceeding was fundamentally unfair or unre-

liable.’” Id., quoting Lockhart v. Fretwell, 506 U.S. 364, 369

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(1993).

     Most importantly, a petitioner who alleges ineffective

assistance following entry of a guilty plea has an even higher

burden to meet.   See Hill v. Lockhart, 474 U.S. at 53-59; Fields,

956 F.2d at 1294-99; and Hooper v. Garraghty, 845 F.2d 471, 475

(4th Cir.), cert. denied, 488 U.S. 843 (1988).        The Fourth Cir-

cuit described the petitioner’s additional burden in a post-

guilty plea claim of ineffective assistance of counsel as

follows:

           When a [petitioner] challenges a conviction
           entered after a guilty plea, [the] “prejudice
           prong of the [Strickland] test is slightly
           modified. Such a defendant must show that
           there is a reasonable probability that, but
           for counsel’s errors, he would not have
           pleaded guilty and would have insisted on
           going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In the instant case, at the time that the petitioner was

charged with and pled guilty to the conspiracy offense, the well-

settled law in this Circuit simply did not require the government

to include drug amounts in its allegations.       Rather, drug quanti-

ty was considered a sentencing factor, which the government only

had to prove by a preponderance of the evidence.        See, e.g.,

United States v. Dorlouis, 107 F.3d 248,252 (4th Cir. 1997);

United States v. Fletcher, 74 F.3d 49, 53 (4th Cir. 1996); and

United States v. Heater, 63 F.3d 311, 322 (4th Cir. 1995).


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     Furthermore, even after the Apprendi ruling was announced,

the Fourth Circuit continued to hold that proof of drug quanti-

ties which did not increase the statutory maximum term simply did

not implicate Apprendi.        See,e.g., United States v. General, 278

F.3d 389, 393 (4th Cir.) (drug quantity not an element of the

offense where sentence is less than statutory maximum), cert.

denied, 536 U.S. 950 (2002).       In fact, even as late as 2002, the

Fourth Circuit was construing the term “statutory maximum” from

Apprendi as the maximum term which could be imposed upon any

relevant judge-made findings.        See United States v. Lewis, 235

F.3d 215, 218-19 (4th Cir. 2000) (upholding the imposition of

uncharged sentence enhancements which did not increase the sen-

tence beyond that provided for by the statute of conviction);

United States v. Kinter, 235 F.3d 192, 198-202 (4th Cir. 2000)

(same), cert. denied, 532 U.S. 937 (2001).

     Thus, based upon the status of the law and the facts of this

case, neither the petitioner’s trial nor his appellate attorney

was deficient for choosing not to raise an Apprendi challenge in

this case.    To put it simply, the petitioner’s attorneys followed

the law as it then existed.2       Therefore, any determination that

counsel were deficient based upon the subject changes in the law



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       Even though the petitioner is correct that the case of Jones v. United
States, 526 U.S. 227 (1999) was decided before he was sentenced, that case was
not construed as affecting whether or not drug quantities had to be alleged in
the Indictment. Therefore counsel had no reason to raise a challenge to the
instant Indictment based upon that case.

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would require a conclusion that attorneys are required not only

to know the current status of the law, but also to predict the

future of the law and correctly formulate strategies based upon

such predictions.    Suffice it to say, however, the law requires

no such extraordinary abilities from its practitioners.

     Last, the petitioner’s indirect challenge to the constitu-

tionality of §841 also is baseless inasmuch as it is well settled

that Apprendi did not render §841 unconstitutional.           See United

States v. McAllister, 272 F.3d 228 (4th Cir. 2001).           Accordingly,

this Court must flatly reject this first claim.

           2.   The petitioner’s claim that counsel was in-
                effective in connection with the §851 Notice
                also is baseless.

     As to this second claim, the petitioner argues that his

prior convictions were inadequate to have exposed him to a life

sentence as a “Career Offender”; therefore, trial counsel was in-

effective for having failed to challenge the government’s §851

Notice.   However, even a cursory review of this matter reflects

that the petitioner is mistaken as to the facts of his case.

     In particular, the government’s §851 Notice reported that

the petitioner had two prior drug convictions–-one sustained in

February 1993 for possession with intent to sell and deliver

cocaine, and one sustained in January 1997 for felony possession

of cocaine.     So, while the petitioner is correct that under the

§4B1.1 of the U.S. Sentencing Guidelines (§4B1.1) those prior



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convictions likely would have been treated as related to the

offense of conviction, thereby precluding their use for Career

Offender purposes, that fact is irrelevant in this case.

     To be sure, 21 U.S.C. §841(b)(1)(A), to which the govern-

ment’s §851 Notice related–-not the Career Offender provisions--

provides that any person who is convicted of a violation there-

under “after two or more prior convictions for a felony drug

offense have become final, such person shall be sentenced to a

mandatory term of life imprisonment without release . . . .”

Critically, unlike the Career Offender provisions, this statute

does not put any limitation of the type of felony drug offenses

which can be used to expose the petitioner to a term of life

imprisonment.

     Likewise, although the petitioner alleges that the Double

Jeopardy Clause precluded the use of his 1993 felony drug convic-

tion for §851 enhancement purposes because such conviction was

preceded by the imposition of a drug tax which was levied against

him under North Carolina’s former drug tax statute, his own docu-

mentary exhibits show otherwise.        That is, the documents which

the petitioner submitted in support of that argument reflect that

the drug tax actually was not made until after he was convicted

on the related criminal charge.     Thus, to the extent that the

petitioner even had a colorable Double Jeopardy claim, that claim

would have been against the 1994 assessment, not the 1993

conviction which was listed in the §851 Notice.

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     Moreover, the petitioner does not allege that he ever sought

to challenge his 1993 conviction, as would have been necessary in

order to render such conviction unavailable for §841 enhancement

purposes.   In fact, the petitioner does not even allege that he

advised trial counsel about the post-judgment assessment so that

counsel could have researched the matter.

     Furthermore, Lynn v. West, 134 F.3d 582, 593-94 (4th Cir.

1998)--the case which ruled that North Carolina’s drug tax was a

criminal penalty so as to preclude the State from both assessing

the tax and pursuing a criminal prosecution for the same drugs--

was not decided until after the petitioner’s 1993 conviction was

imposed.    Consequently, it is not likely that trial counsel would

have had any basis upon which to challenge the 1993 conviction

even if he had been aware of the post-conviction tax.

     In sum, for the purposes of §841 sentencing enhancements, it

is irrelevant that–-as the petitioner asserts–-his 1997 felony

drug conviction involved “a mere .67 grams [of] cocaine . . .”;

that he only received a 6 to 8 month term of imprisonment for

that conviction; that his 1993 conviction was followed by a 1994

drug tax assessment; or that §4B1.1 of the Guidelines might have

precluded his being deemed a Career Offender on the basis of his

prior convictions.   Rather, as trial counsel obviously under-

stood, the critical facts surrounding this issue were that the

petitioner had two prior felony drug convictions which had not

been reversed, and he was charged with another felony drug of-

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fense in violation of 21 U.S.C. §§841 and 846.          In light of those

facts, therefore, counsel had no basis upon which to challenge

the government’s §851 Notice.

     Last on this point, it has not escaped the Court’s atten-

tion that the government withdrew the §851 Notice, thus ensuring

that the petitioner would not face an enhanced sentence on the

basis of either of his prior convictions.        Consequently, the

petitioner ultimately cannot demonstrate any deficiency or pre-

judice in connection with this issue.

          3.   The petitioner cannot prevail on his claim
               that counsel was ineffective for allowing
               him to stipulate to a drug quantity.

     As to this claim, the petitioner argues that trial counsel

was ineffective for having counseled him to stipulate to a drug

quantity when the Indictment failed to set forth any allegation

concerning a specific drug amount.       However, as was previously

explained in connection with the petitioner’s first claim, the

decision to stipulate to a specific drug amount actually was a

reasonable and prudent defense strategy in this case.

     First, to the extent that the petitioner is attempting to

challenge the Court’s calculation of his sentence on the basis of

his involvement with 500 grams to 1.5 kilograms of crack, that

attempt cannot succeed.       That is, as already has been noted, un-

der the terms of his Plea Agreement, the petitioner waived his

right to challenge the calculation of his sentence.            Thus, since



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the Fourth Circuit concluded that such waiver was valid and en-

forceable against the petitioner, he cannot proceed on this

claim.   Daniels, No 02-4415, slip op. at 2.

     Second, this Court already has settled the fact that at the

time that the petitioner’s case was being prosecuted, the law did

not require that drug amounts be set forth in the Indictment as

elements of the offense.      Accordingly, there was no reason why

trial counsel should have discouraged the petitioner from stipu-

lating to a specific quantity in light of the facts of this case.

     Third, the information set out in the petitioner’s Pre-

Sentence Report tended to establish that the conspiracy in which

he was involved had operated for approximately 10 years; that it

had numerous participants in the Catawba, Iredell and Caldwell

County areas of North Carolina; and that several of the petition-

er’s cohorts dealt in multi-kilogram quantities of cocaine and

cocaine base, and were supplied from sources as far away as New

York City.   For his part, the Report also showed that the peti-

tioner was a street-level dealer who received and sold cocaine

and cocaine base from numerous sources over an eight year period.

     Consequently, but for his stipulation, the petitioner clear-

ly could have been held accountable not only for the drugs with

which he personally dealt, but also for those quantities with

which his co-conspirators had dealt to the extent such amounts

were reasonably foreseeable to him.      And, given the fact that the

petitioner was able to obtain a vastly reduced sentence on the

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basis of his having provided information to the government, the

government likely would have had little difficulty in showing

that the petitioner was aware of transactions involving far more

drugs than the amount for which he agreed to stipulate.

     Furthermore, the petitioner’s argument that United States v.

Rhynes, 218 F.3d 310 (2000) precluded the Court from sentencing

him for involvement with anything besides the least punishable

drug listed in the Indictment, i.e., marijuana, is misplaced.

That is, the holding in Rhynes is inapplicable here because that

case involved a jury trial where there was no special verdict

concerning which drug the jury found the defendant to have dealt,

not a guilty plea where there was admitted involvement with a

specific drug.   On this record, then, the petitioner cannot

possibly demonstrate either a deficient performance or prejudice

in connection with this claim.

          4.   The petitioner’s challenge to the validity
               of his Plea Agreement is foreclosed by the
               record and the Court of Appeals’ decision.

     By his final claim, the petitioner argues that trial counsel

was ineffective at sentencing because he “induce[d him] into

signing and agreeing to an illusionary [] plea agreement wherein

[he] was threatened with being tried as a three strike or habitu-

al offender under 21 U.S.C. §851 . . . .”       According to the

petitioner, trial counsel misled him to believe that he would be

exposed to a mandatory life term of imprisonment if he proceeded



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to trial, so he pled guilty in order to avoid the risk of a life

sentence.   However, this claim need not long detain the Court.

     First, the petitioner’s belief that he only faced a five

year sentence in this case plainly is erroneous.          Second, the

appellate Court already found that the petitioner’s allegation

that he somehow entered into “an illusionary plea agreement” was

“baseless and unsupported.”      Daniels, No. 02-4415, slip op. at 3.

Third, this Court has determined that the government’s §851 No-

tice properly was filed because the petitioner, in fact, was

subject to a mandatory term of life imprisonment by virtue of his

prior felony drug convictions.

     Contrary to the petitioner’s assertions, it was counsel’s

advice, coupled with his negotiation tactics, that put the peti-

tioner in the position to cooperate and obtain a vastly reduced

sentence.   Therefore, trial counsel was not deficient in connec-

tion with his advice concerning the petitioner’s sentencing

exposure.

                          III.    CONCLUSION

     The Court has carefully reviewed all of the pertinent

documents and determined that the petitioner is not entitled to

any relief on his claims.     Therefore, the government’s Motion for

Summary Judgment must be granted; and the petitioner’s Motion to

Vacate must be denied and dismissed.




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                               IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED:

     1.   That the government’s Motion for Summary Judgment is

GRANTED; and

     2.   That the petitioner’s Motion to Vacate is DENIED and

DISMISSED.

     SO ORDERED.



                                   Signed: November 17, 2006




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